          Case 1:19-cv-02753-RCL Document 5 Filed 10/01/19 Page 1 of 10



          1:19-cv-02753




                                              William Barr, U.S. Attorney General
                          9/30/19




                  I sent a copy of the summons and complaint by certified mail on September 23,
                  2019 to the Federal Election Commission, the US Attorney for the District of
                  Columbia, and the Attorney General of the United States.




10/1/19
          Case 1:19-cv-02753-RCL Document 5 Filed 10/01/19 Page 2 of 10



          1:19-cv-02753




                                                    Federal Election Commission
                             9/30/19




                  I sent a copy of the summons and complaint by certified mail on September 23, 2019 to
                  the Federal Election Commission, the US Attorney for the District of Columbia, and the
                  Attorney General of the United States.




10/1/19
    Case 1:19-cv-02753-RCL Document 5 Filed 10/01/19 Page 3 of 10



   1:19-cv-02753




                                               Jessie K. Liu, US Attorney for the District of Columbia

                        9/30/19




            I sent a copy of the summons and complaint by certified mail on September 23, 2019 to
            the Federal Election Commission, the US Attorney for the District of Columbia, and the
            Attorney General of the United States.




10/1/19
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
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                                                               Tracking® Results Page 4 of 10


   USPS Tracking
                                            ®                                                     FAQs   




                                                  Track Another Package          +




                                                                                                Remove   
   Tracking Number: 70183090000074147504

   Your item was delivered at 4:57 am on September 30, 2019 in WASHINGTON, DC 20530.




     Delivered




                                                                                                         Feedback
   September 30, 2019 at 4:57 am
   Delivered
   WASHINGTON, DC 20530

   Get Updates      




                                                                                                   
       Text & Email Updates


                                                                                                   
       Tracking History


       September 30, 2019, 4:57 am
       Delivered
       WASHINGTON, DC 20530
       Your item was delivered at 4:57 am on September 30, 2019 in WASHINGTON, DC 20530.



       September 29, 2019, 11:22 am
       Available for Pickup
       WASHINGTON, DC 20530



       September 29, 2019, 10:54 am
       Arrived at Hub
       WASHINGTON, DC 20018

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147504                                 1/3
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
                                              USPS.com® - USPS        10/01/19
                                                               Tracking® Results Page 5 of 10

       September 28, 2019
       In Transit to Next Facility



       September 26, 2019, 2:30 pm
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 25, 2019, 6:35 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 25, 2019, 5:21 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 24, 2019, 4:51 pm
       Arrived at USPS Regional Facility




                                                                                                    Feedback
       WASHINGTON DC DISTRIBUTION CENTER



       September 23, 2019, 10:40 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 23, 2019, 3:24 pm
       USPS in possession of item
       WASHINGTON, DC 20005




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       Product Information



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                                 Can’t find what you’re looking for?

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147504                            2/3
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
                                              USPS.com® - USPS        10/01/19
                                                               Tracking® Results Page 6 of 10


   USPS Tracking
                                            ®                                                              FAQs   




                                                  Track Another Package          +




                                                                                                       Remove     
   Tracking Number: 70183090000074147498

   Your item was delivered to the front desk, reception area, or mail room at 8:12 am on September
   30, 2019 in WASHINGTON, DC 20463.




     Delivered




                                                                                                                  Feedback
   September 30, 2019 at 8:12 am
   Delivered, Front Desk/Reception/Mail Room
   WASHINGTON, DC 20463

   Get Updates      




                                                                                                             
       Text & Email Updates


                                                                                                             
       Tracking History


       September 30, 2019, 8:12 am
       Delivered, Front Desk/Reception/Mail Room
       WASHINGTON, DC 20463
       Your item was delivered to the front desk, reception area, or mail room at 8:12 am on September 30, 2019
       in WASHINGTON, DC 20463.



       September 29, 2019, 11:42 am
       Available for Pickup
       WASHINGTON, DC 20463




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147498                                          1/3
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
                                              USPS.com® - USPS        10/01/19
                                                               Tracking® Results Page 7 of 10
       September 29, 2019, 11:02 am
       Arrived at Hub
       WASHINGTON, DC 20018



       September 28, 2019
       In Transit to Next Facility



       September 26, 2019, 2:30 pm
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 25, 2019, 6:35 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 25, 2019, 5:21 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER




                                                                                                    Feedback
       September 24, 2019, 4:51 pm
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 23, 2019, 10:40 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 23, 2019, 3:24 pm
       USPS in possession of item
       WASHINGTON, DC 20005




                                                                                                
       Product Information



                                                               See Less      




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147498                            2/3
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
                                              USPS.com® - USPS        10/01/19
                                                               Tracking® Results Page 8 of 10


   USPS Tracking
                                            ®                                                     FAQs   




                                                  Track Another Package          +




                                                                                                Remove   
   Tracking Number: 70183090000074147207

   Your item was delivered at 4:57 am on September 30, 2019 in WASHINGTON, DC 20530.




     Delivered




                                                                                                         Feedback
   September 30, 2019 at 4:57 am
   Delivered
   WASHINGTON, DC 20530

   Get Updates      




                                                                                                   
       Text & Email Updates


                                                                                                   
       Tracking History


       September 30, 2019, 4:57 am
       Delivered
       WASHINGTON, DC 20530
       Your item was delivered at 4:57 am on September 30, 2019 in WASHINGTON, DC 20530.



       September 29, 2019, 11:22 am
       Available for Pickup
       WASHINGTON, DC 20530



       September 29, 2019, 10:54 am
       Arrived at Hub
       WASHINGTON, DC 20018

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147207                                 1/3
10/1/2019              Case 1:19-cv-02753-RCL Document    5 Filed
                                              USPS.com® - USPS        10/01/19
                                                               Tracking® Results Page 9 of 10

       September 28, 2019
       In Transit to Next Facility



       September 26, 2019, 2:30 pm
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 25, 2019, 6:35 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 25, 2019, 5:21 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       September 24, 2019, 4:51 pm
       Arrived at USPS Regional Facility




                                                                                                    Feedback
       WASHINGTON DC DISTRIBUTION CENTER



       September 23, 2019, 10:40 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER



       September 23, 2019, 3:24 pm
       USPS in possession of item
       WASHINGTON, DC 20005




                                                                                                
       Product Information



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                                 Can’t find what you’re looking for?

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70183090000074147207                            2/3
Case 1:19-cv-02753-RCL Document 5 Filed 10/01/19 Page 10 of 10
